Case 2:OS-cr-20347]@§{§)@§1@§5%]1%@§§)%8[1§§£015€6@%1 of 2 Page|D 12

FOR THE WESTERN DISTRICT OF TENNESSEE FIt;;E;',i ,
WESTERN DIVISION l

 

UNITED STATES OF AMERICA

vs. CR. NO.

 

**-X-l%*

SAMUEL GREEN

 

ORDER HOLDING DEFENDANT F()R FINAL REVOCATION HEARING

 

On August 15, 2005, Samuel Green appeared before me on a charge of violation of the
terms and conditions of his supervised release in this matter. The defendant had previously been
advised of his rights under Fed.R.Crim.P. 5 and 32.1(a), and counsel Was appointed

At this hearing, the defendant Was released on bond and, therefore, a preliminary hearing on
the violation was not required. §§§ United States v. m, 531 F.Zd 842, 846 (7th Cir. 1976) and

United States v. Tucker, 524 F.Zd 77, 78 (5th Cir. 1975), §§ denied, 424 U.S. 966, 96 S.Ct. 1462,

 

 

47 L.Ed.2d 733 (l 976).
Aecording]y, defendant, Samuel Green is held to a final revocation hearing before United
States District Judge J. Daniel Breen. lt is presumed that the District Judge will set this matter for

a revocation hearing pursuant to Fed.R.Ciim.P. 32. l (b), (c), and Will see that appropriate notices are

given.

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V Q/LJ-"--`,q___
TU M. PHAM"

UNITED STATES MAGISTRATE JUDGE

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This notice confirms a copy of the document docketed as number 10 in
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Honorable J. Breen
US DISTRICT COURT

